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                                             Uureo Srarcs DtsrR:cr Counr



                                                                                                Case No. l&SW-350




    APPLICATION FOR A WANNANT BY TELEPHONE OR OTIIER Rf,LIABLE ELECTRONIC ME^NS
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                      O propcny dcigncd for              usc. intcndcd for usc. or uscd in commining              r crime:
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        &16: 922(AXl Xr), 922(9)              end inlturfl.nbliihs, ln wtutor.r lbr r 8nd ho*rv, !bt!d.
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                                               UNrrpo Sreres Drsrrucr Counr




ofthe following person or property located in the                                                    District   of
(identify lhe pe$on or describe lhe property to be seorched and give its location):
  See Attachment A, incorporated herein.




        I find that the affidavit(s), or any recorded testimony, establish probable cause lo search and seize the person or property
described above, and that such search will rcveal (identify the person or describe the ptopert|, to be sei.ed):
  See Aftachment B incorporated herein.




             You ARE COMMANDED             to execute this warrant on or bfore                              hot to erceed tj days)
       f,    in the daytime 6:00 a.m. to l0:00 p.m. O at any time in the day or night b".uu." good.",lr" has been established.
                                                                                                --
        Unless delayed notice is authorized below, you must give a copy ofthe wanant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
properfy was taken.
             The officer executing this warrant, or an officer present during the execution ofthe warrant, must prepare an inventory
as required by law and promptly retum this warrant and inventory                    to         Robin M. Meriweathei
                                                                                                            (Ilnited Stdtes Magistate Judge)

     D Pursuant to l8 U'S.C. $ 3103a(b), I find that immediate notification may have an adverse result listed in I 8 U.S.C.
$ 2705 (except for delay oftrial), and authorize the officer executing this warant to delay notice to the person who, or whose
property, will be searched or seized 1c heck the oppropriate bor)
       O     for   _   days   r.no   t to erceed   30) O   until, the facts justirying, the later specific date       of



                                                                                                                       Judge   s    signature

city   and   state:           washington, D         c.                                   Robin M. Meriweather, united states Magistrate Judge
                                                                                                                     Printed narne and title
                          Case 1:18-sw-00350-RMM Document 1 Filed 12/27/18 Page 3 of 38

AO 93C   (06/lt) Warra   by T.lcphonc or othcr Rcliablc EkcEonic Mcahs (Page 2)


                                                                             Return
Case No.:                                 Date and time waffanl executed:                 Copy of wanant and inventory left with:
 18-SW-350
InYentory made in the presence of           :




lnventory ofthe property mken and name(s) ofany person(s) seized:




                                                                          Certification


          I declare under penalty ofperjury that this inventory is correct and was retumed along with lhe original warrant to the
designated judge.




Date:
                                                                                                 Executing oficer's sigrutwe



                                                                                                    Printed nafie and title
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             Item   fi        Brief Description
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                                       ATTACHMENT B

                                  PROPERTY TO BE SEIZED

       The items, information, and data to be seized are fruits, evidence, information relating to,

contraband, or instrumentalities, in whatever form and however stored, relating to violations   of

Title 21, United States Code, Sections 8al(a)(l) and 846; and Title 18, United States        Code,

Sections 922(AXlXa), 922(9), and 924(c) (the "target offenses"), as described in the search

warrant affidavit, including, but not limited to: call logs, phone books, photographs, voice mail

messages,    text messages, images and video, Global Positioning System data, and any other

stored electronic data:

       (i)      establishing or documenting the preparation to commit or the commission of the

target offbnses;

       (ii)     identifying locations where the individual committed the target offenses, traveled

to before and after the commission of the target offenses, and in preparation for the        target

offenses;

        (iiD    reflecting the ownership and use of the items identified in Attachment A by the

individual committing the target offenses;

       (iv)     documenting meetings and communications between individuals committing one

or more ofthe target offenses;

       (v)      reflecting communications between the individual committing one or more of the

target offenses and other individuals, discussing the commission of one or more of the target

offenses;
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         (vi)     reflecting communications between the individual committing one or more of the

target offenses and other individuals who may have assisted             or provided support in        the

commission ofone or more ofthe target offenses;

         (vii)    containing photographs or video that would constitute evidence of a violation of

the target offenses;

         (viii)   documenting   or   containing evidence     of the obtaining,       secreting, transfer,

expenditure and/or the concealment of narcotics in violation of       2l    U.S.C. $ 841(a)(l), which

would constitute evidence ofone ofthe target offenses; and

         (ix)     documenting or containing evidence of the purchase         of items from the     assets


derived from the commission          of a   narcotics trafficking offense   in violation of   2l   U.S.C.

g   8al(a)(l), or of a firearms trafficking offense, in violation of l8 U.S.C.   $   922(aXl)(A) which

would constitute evidence ofone ofthe target offenses.
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Code, Section 8a8(eXl)(A) and Title 18, United States Code, Sections 922(d,924(c), 1956 and

1957 and Title 26, United States Code, Section 5861(d) among others.

       2.           Your affiant is presently assigned to Group III of the Washington Field Division

of the ATF in WashinSon,      D.C.   This particular Group investigates violent street gangs and crews

in Washington, D.C. in which most members are involved in the distribution of narcotics, which

also may involve firearms and the illegal trafficking of   firearms. lnthecourseof mytrainingand

experience, your affiant has become familiar with the methods and techniques associated with the

distribution   of   narcotics, the laundering   of drug    proceeds, and the organization     of   drug

conspiracies. In the course ofconducting these investigations, your affiant has been involved in

the use of the following investigative techniques: interviewing informants and cooperating

witnesses; conducting physical surveillance; conducting short-term undercover operations;

consensual monitoring and recording        of both telephonic and non-telephonic communications;

analyzing caller identification system data; and executing search warrants that have led to

substantial seizures of narcotics, firearms, and other contraband.

       3.           Through instruction, training, and participation   in   investigations, as well as

through consultation with other agents and law enforcement personnel, your afliant has become

familiar with the manner and methods by which narcotics traffickers conduct their illegal business,

including the transportation of narcotics from importers to wholesalers and from wholesalers to

street level dealers, as well as the packaging and hiding of narcotics, payment methods for

narcotics, and laundering of the proceeds of illegal narcotics transactions. Based on this training

and experience, your affiant has leamed that, among other things, narcotics traffickers use

computers and cellular telephones to further their illegal activities and in many cases drug dealers

will frequently "dump" or      discard their phones and/or phone numbers in the belief that, by so
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doing, they can avoid detection and thwart the efforts of law enforcement. Computers and cellular

telephones also enable co-conspirators to remain in constant or ready communication with one

another without restricting either party       to a particular geographic location, thus hampering

surveillance by law enforcement authorities. Additionally, narcotics traffickers usually do not

expressly refer   to synthetic     cannabinoids, heroin, phencyclidine (PCP),        or other controlled

substances by name, and, when they do so, it is most often a mistake. Instead, they routinely refer

to drugs and drug quantities   -   and also quantities of cash   -   by using seemingly innocuous words

or phrases in an effort to conceal the true nature of their illegal activities and thwart detection by

law enforcement. Narcotics traffickers also frequently have access to several computers and

cellular telephones and they periodically use newly acquired computers and cellular telephones,

or frequently change cellular telephones, to avoid detection and attempt to thwart apprehension by

law enforcement. These cellular telephones are often prepaid cellular telephones which are

frequently not registered or subscribed to in the purchaser's or primary user's name.

        4.      Your a{Iiant makes this affidavit in support ofan application under Rule        4l ofthe

Federal Rules of Criminal Procedure for a warrant to search the electronic devices listed in

attachment   A. On September 25, 2018, a grand jury for the United           States District Court for the

District of Columbia retumed       a nineteen count indictment charging    EDWARD TOWLES, JR. and

STEPHANIE PAULINO, among others, with conspiracy to distribute and possession with the

intent to distribute narcotics, in violation of Title 21, United States Code, Sections 841(a)(l) and

846.   The indictment charges that these individuals along with several others were involved in a

long-term conspiracy, between October 2017 continuing up to and including September 2018.

This affidavit seeks authorization to search and seize evidence from the following electronic

devices which were seized during the search         of their   residence pursuant to previously issued
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United States District Court Search and Seizure Warrants. Further, your affiant alleges the facts to

show that there        is   probable cause       to believe that       evidence and instrumentalities             of   the


aforementioned violations of the United States Code are contained within the below listed

electronic devices.l

                                               BACKGROUND

         5.        All information contained in this affidavit           is either personally known to me or has

been related to me by other law enforcement oflicers and/or other witnesses, or has been obtained

from records and documents gathered during the course of this investigation. This affidavit

contains information necessary to support probable cause for the search of the Target Devices.

The information contained in this affidavit is for the limited purpose ofsupporting the search and

is not intended to include each and every fact and matter observed by or known to the affiant.

         6.        Your affiant knows that computers and cellular telephones are tools of the drug

trade. Drug traffickers communicate with customers, suppliers, and co-conspirators via computers

and cellular telephones. Drug traffickers use computers and cellular telephones                              to   arrange


meetings, request drugs, take drug orders, and arrange for co-conspirators to obtain and distribute

drugs. To avoid detection by law enforcement, drug traffickers commonly use more than one

cellular telephone and often send text messages, rather than engage in oral communications.

          7.        Your afliant knows that computers and cellular telephones used by drug traffickers

 contain valuable information and evidence relating to their drug trafficking. Such information




' It is noted that contained within this affidavit the term'target offcnses" is to mean conspiracy to distribute and
possession with the intent to distribute narcotics, in violation of Title 21, United States Code, Sections 841(a)( l) and
846, conspiracy to engage in the dealing of firearms. in violation of Title 18, United States Code, Sections 922(aX I )( A)
and 3 7l , aiding and abetting, in violation ofTitle I 8, United States Code, Seclion 2, and Carrying, Using or Possessing
a Firearm in Connection with a Crime of Violence or Drug Trafficking Crime, in violation of Title 18, United States
Code, Section 924(c), use of a communication facility in facilitating the commission ofa drug crime in violation of
Title 21, United States Code Section 843(b), or possession ofa firearm by a convicted felon in violation of Title 18,
United Stares Code Section 912(g)( l).
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consists of, but is not limited to, call logs, phone books, photographs, voice mail messages, text

messages, images and video, Global Positioning System (GPS) data, browser history, and any

other stored electronic   data. This information   can (i) reflect the preparation for, arrangement of,

and commission of the trafficking of drugs;    (ii) identify locations where drug traffickers traveled

to before and after transporting or selling narcotics; (iii) reflect the ownership and use of the

computers and cellular telephones         by the drug traffickers; (iv) document meetings and

communications between drug traffickers, their customers, associates, and co-conspirators; (v)

reflect communications between drug traffickers and other individuals, discussing the trafficking

 ofnarcotics; (vi) reflect communications between drug traffickers and other individuals who may

 have assisled or provided support in the trafficking      of narcotics: (vii) document or     contain

 evidence ofthe obtaining, secreting, cutting, manufacturing, transferring, expenditure and/or the

 concealment of narcotics relating to the trafficking of narcotics; and    (viii) document or contain

 evidence ofthe purchase of items from the assets derived from the trafficking ofnarcotics.

        8.         Your affiant knows that individuals involved in drug trafficking often          use


cellphone cameras to take pictures and video of themselves as well as other members of their

organization, often engaging in illegal activities such as the distribution of narcotics and the

possession     of firearms, as well as to take pictures of assets acquired with the proceeds of drug

trafficking.

        9.         Your affiant knows that individuals involved in drug trafficking often          use


cellphone video recording devices to take video recordings ofother members oftheir organization

often engaging in illegal activities such as the distribution of narcotics, as well as video recordings

documenting the purchase of assets with the proceeds of narcotics trafficking.
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                  ELECTRONIC STORAGE AND FORENSIC AIIALYSIS

        10.     Based on your affiant's training and experience, your affiant uses the following

technical terrns to convey the following meanings:

               a.       Wireless telephone:       A    wireless telephone (or mobile telephone, or

cellular telephone) is a handheld wireless device used for voice and data communication through

radio signals. These telephones send signals through networks of transmitter/receivers, enabling

communication with other wireless telephones or traditional "land line" telephones. A wireless

telephone usually contains a "call log," which records the telephone number, date, and time        of

calls made to and from the phone. In addition to enabling voice communications, wireless

telephones offer a broad range      of capabilities.   These capabilities include: storing names and

phone numbers in electonic "address books;" sending, receiving, and storing text messages and

e-mail; taking, sending, receiving, and storing still photographs and moving video; storing and

playing back audio files; storing dates, appointments, and other information on personal calendars;

and accessing and downloading information from the Intemet. Wireless telephones may also

include global positioning system ("GPS") technology for determining the location ofthe device.

               b.       Digital camera: A digital camera is a camera that records pictures          as


digital picture files, rather than by using photographic   film.   Digital cameras use avarietyoffixed

and removable storage media to store their recorded        images. lmages can usually be retrieved by

connecting the camera to   a   computer or by connecting the removable storage medium to a separate

reader. Removable storage media include various types offlash memory cards or miniature hard

drives. Most digital   cameras also include a screen for viewing the stored      images. This storage

media can contain any digital data, including data unrelated to photographs or videos.
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                c.         Portable media player:    A portable media player (or "MP3 Player" or

iPod) is a handheld digital storage device designed primarily to store and play audio, video, or

photographic    files. However,     a portable media player can also store other digital   data.   Some

portable media players can use removable storage media. Removable storage media include

various types offlash memory cards or miniature hard       drives. This removable   storage media can

also store any digital   data.   Depending on the model, a portable media player may have the ability

to store very large amounts ofelectronic data and may offer additional features such as a calendar,

contact list, clock, or games.

                d.         GPS: A Global Positioning System ("GPS") navigation device         uses   tle

Global Positioning System to display its current location. It often contains records ofthe locations

where it has   been.   Some GPS navigation devices can give a user driving or walking directions to

another   location.   These devices can contain records ofthe addresses or locations involved in such

navigation. The Global Positioning System consists of 24 NAVSTAR satellites orbiting the

Earth. Each satellite contains an extremely accurate clock. Each satellite repeatedly transmits

by radio a mathematical representation ofthe current time, combined with a special sequence of

numbers. These signals are sent by radio, using specifications that are publicly available. A CPS

antenna on Earth can receive those      signals. When a GPS antenna receives signals from at least

four satellites, a computer connected to that antenna can mathematically calculate the antenna's

latitude, longitude, and sometimes altitude with a high level ofprecision.

                e.        Tablet: A tablet is a mobile computer, typically larger than a phone yet

smaller than a notebook, that is primarily operated by touching the screen. Tablets function as

wireless communication devices and can be used to access the Intemet through cellular networks,

802.11    "wi-fi" networks, or otherwise.     Tablets typically contain programs called apps, which,
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like progtams on a personal computer, perform different functions and save data associated with

those   functions. Apps can, for example, pennit accessing the Web, sending and receiving e-mail,

and participating in Intemet social networks.

                f.       IP Address: An Intemet Protocol address (or simply "IP address") is a

unique numeric address used by computers on the Intemet. An IP address is a series of four

numbers, each in the range 0-255, separated by periods (e.g., 121.56.97.178). Every computer

attached to the Intemet computer must be assigned an IP address so that lntemet traffic sent from

and directed to that computer may be directed properly from its source      to its destination. Most

Intemet service providers control a range of lP addresses. Some computers have static-that is,

long+ernr-lP     addresses, while other computers have   dynamic-that is, frequently changed-lP

addresses.

                 g.      Intemet: The lntemet is a global network ofcomputers and other electronic

devices that communicate     with each other. Due to the structure of the Intemet, connections

between devices on the Intemet often cross state and international borders, even when the devices

communicating with each other are in the same state.

         11.     Based on your affiant's training, experience, and research, your affiant has reason

to believe that the Target Devices have capabilities that allow them to serve   as a wireless   telephone,

digital camera, portable media player, GPS navigation device, and intemet search device. In your

affiant's training and experience, examining data stored on devices ofthis type can uncover, among

other things, evidence that reveals or suggests who possessed or used the device.

          12.    Based on your affiant's knowledge, training, and experience, your afliant knows

that electronic devices can store information for long periods of   time. Similarly,    things that have
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been viewed via the Internet are typically stored for some period of time on the               device. This

information can sometimes be recovered with forensics tools.

        13.     There is probable cause to believe that things that were once stored on the Target

Devices may still be stored there, for at least the following reasons:

                a.           Based on my knowledge, training, and experience, I know that computer

files or remnants of such files can be recovered months or even years after they have been

downloaded onto a storage medium, deleted, or viewed via the lnternet. Electronic files

downloaded to a storage medium can be stored for years at little or no          cost.   Even when files have

been deleted, they can be recovered months or years later using forensic          tools. This is so because

when a person "deletes" a file on a computer, the data contained in the file does not actually

disappear; rather, that data remains on the storage medium until it is overwritten by new data.

                b.           Therefore, deleted files, or remnants of deleted files, may reside in free

space or slack space--that is, in space on the storage medium that is not currently being used by

an active   file-for     long periods of time before they are overwritten. In addition, a computer's

operating system may also keep a record ofdeleted data in a "swap" or "recovery" file.

                c.           Wholly apart from user-generated files, computer storage media-in

particular, computers' intemal hard drives---contain electronic evidence of how a computer has

been used, what     it   has been used   for, and who has used   it.   To give a few examples, this forensic

evidence can take the form ofoperating system configurations, artifacts from operating system or

application operation, file system data structures, and virtual memory "swap" or paging files.

Computer users typically do not erase or delete this evidence, because special software is typically

required for that   task. However, it is technically    possible to delete this information.
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                d.      Similarly, files that have been viewed via the lntemet are sometimes

automatically downloaded into a temporary Intemet directory or "cache."

         14.    Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

ofthe crimes described on the warrant, but also forensic evidence that establishes how the Target

Devices were used, the purpose   oftheir   use, who used them, and   when. There is probable      cause


to believe that this forensic electronic evidence might be on the Target Devices because:

                a.      Data on the storage medium can provide evidence          ofa file that was once

on the storage medium but has since been deleted or edited, or of a deleted portion of a file (such

as a paragraph that has been deleted   from a word processing file). Virtual memory paging systems

can leave traces of information on the storage medium that show what tasks and processes were

recently   active. Web browsers, e-mail programs, and chat programs store                 configuration

information on the storage medium that can reveal information such as online nicknames and

passwords. Operating systems can record additional information, such as the attachment of

peripherals, the attachment of USB flash storage devices or other extemal storage media, and the

times the computer was in use. Computer file systems can record information about the dates files

were created and the sequence in which they were created.

                b.       Forensic evidence on a device can also indicate who has used or controlled

the   device. This 'hser attibution" evidence   is analogous to the search for   "indicia of occupancy''

while executing a search warrant at a residence.

                c.       A person with appropriate familiarity with how an electronic device works

may, after examining this forensic evidence in its proper context, be able to draw conclusions about

how electronic devices were used, the purpose oftheir use, who used them, and when.
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                d.      The process of identifying the exact electronically stored information on a

storage medium that are necessary      to draw an accurate conclusion is a dynamic        process.

Electronic evidence is not always data that can be merely reviewed by a review team and passed

along to investigators. Whether data stored on a computer is evidence may depend on other

information stored on the computer and the application of knowledge about how a computer

behaves. Therefore, contextual information necessary to understand other evidence also falls

within the scope of the warrant.

                e.       Further, in finding evidence of how a device was used, the purpose of its

use, who used   it, and when, sometimes it is necessary to esublish that a particular thing is not

present on a storage medium.

       15.      Nature of examinotion. Based on the foregoing, and consistent with Rule

al(eX2XB), the warrant your affiant is applying for would permit the examination of the Target

Devices consistent with the     warrant. The examination may require authorities to employ

techniques, including but not limited to computer-assisted scans of the entire medium, that might

expose many parts    ofthe Target Devices to human inspection in order to determine whether they

contain evidence described by the warrant.

        16.     Manner of execurron. Because this warrant seeks only permission to examine

devices already in law enforcement possession, the execution of this warrant does not involve the

physical intrusion onto a premises. Consequently, your affiant submits there is reasonable cause

for the Court to authorize execution ofthe warrant at any time in the day or night.

                                      PROBABLE CAUSE

        16.     As described in greater detail below, evidence obtained from the judicially-

authorized interception of wire communications of telephones used by DERRICK BOYD and



                                                 ll
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EDWARD TOWLES established that TOWLES conspired with others to traffic in narcotics and

firearms from at least March 2018 until his arrest in July 2018, in violation of Title 21, United

States Code, Sections       841(a)(l) and 846; and Title 18. United States Code, Sections 922(A)(l )(a),

922(9),1 and924(c).3

         17   .    On March 8,        201   8, at 9:43 p.m., (TT-4, Activation #329), DERRICK BOYD

received a call from EDWARD TOWLES on the Target Telephone. During the conversation,

TOWLES stated, "What's            up?     I hit you on the other joint, but, um, I'm 'bout to ride out halfiray

to meet my man out from Eastem Shore, right?" BOYD replied, "Un                                        huh."      TOWLES

continued, "He said he got some shit that, um, he said it's 7-5 but he say he threw three on it and

they still love    it."   BOYD replied, "Damn." TOWLES continued, "So, I'm 'bout to go grab

that. I'm just gone grab 10, cuz everytime I go on that side that's                       all they keep asking about."




?       Your Amant is aware TOWLES is prohibited from owning or possessing firearms due to the fact he is a
conyicled felon. According to a NCIC query, on January 31, 2009, TOWLES was anested for Involuntary
Manslaughter and Carrying a Handgun. On February 23,2010, he \f,as convicted in the Seventh Judicial Circuit
Court and was sentenced to five years for manslaughter and two years for carrying a handgun, both to be served
concurrently.
r         On March 7, 2018, the Honorable Amit P. Meht4 United States District Cou( for the District ofColumbia,
issued an order authorizing the interceplion of wire and electronic communications to and from TT-4 (202-491-8351 ),
which is utilized by Denick BOYD. Interceptions began on March 7, 2018 and continued through April 5,2018, at
which time the Honorable Amit P. Mehla, United States District Court for the District of Columbia, issued an order
( I E-M-OO I ) reauthorizing the interception of wire and electronic communications to and from TT-4 (202-491-835 I ).

lnterceptions continued until April 8,2018, when the FBI assessed that BOYD had primarily stopped using TT-4 for
criminal activity and that he had now begun using TT-6 (202-491-7306\. OnApril l9,20l8,theHonorableAmitP.
Mehta, United States District Court for the District of Columbia, signed an orders (18-M-003) authorizing the
interception of wire and electronic communicatioos over cellular lelephone number (202) 491-7306 (hereinafter
refcrred to as Target Telephon€ 6, "TT6") uscd by BOYD. Intcrccptions on TT-6 began on April 19, 2018, and
continued through May I l, 2018. On June l, 2018, the Honorable Amit P. Mehta, United States District Coun for
the District of Columbia, signed an order (18-wt-005) authorizing the interception of wire and electronic (text
message) communications over cellular telephone number ( 202) 910-283 I (hereinafler referred to as Target Telephone
7, ..TT-7") used by BOYD. Monitoring conceming TT-7 began on June l, 2018, and terminated on June 30, 2018. On
:uly :, ZO I 8, ttre iourt, in Misc. No. I 8-wt-Oos (APM), authorized the FBI to renew interce pting wire and electronic
communications over TT-7. Monitoring concerning TT-7 began again on July 3, 201 8, and terminated on August ,
                                                                                                                               I

201g. On August l5,20lE, the Court,          in Misc. No.   l8-M-005    (APM),   authorized the FBI to renew  intercepting wire
and electronii communications over Target Telephone 7 (or TT-7). lntercePtions began on August 15,
                                                                                                                      2018, and
terminated   on   september   4, 20 t 8. on June  15, 2018,  the court,  in Misc. No.  l8-M-006  (APM),   aurhorized  the FBI to
                                                                            (240) 623-6325,  Target Telephone   8 (or  TT-8) for
 begin intercepting wire communications over telephone number
the"invesrigation.-Monitoring concerning        TT-8,  a telephone  number     used by TOWLES,    began  on June  15,2018.  and

 terminated on July I l, 2018.
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BOYD replied,           "Wow."        TOWLES stated, "So I need             that. It's like a need now.    You know

what I'm saying?" BOYD stated, "Right, right, right                          right." A   short while later, TOWLES

stated, "And so um...         I'm probably gone grab the probably two, I'ma bring it back, let you            see   two,

then   if it do, I already told him I said I already know what he gone want so." TOWLES further

stated,   "I   mean don't get me wrong,             I know   a 6-5, you know what    I'm saying   because he told me

before, he just adding his            little l0 on it but if it   be that   I'm good." BOYD informed TOWLES

that he was at     work.       TOWLES apologized but stated that he was "about to ride out there tonight."

BOYD replied, "Oh you going out there tonight?" TOWLES stated, "Yeah me and my girl 'bout

to ride like an hour, halfway               hour." BOYD         replied, "A'ight, that's a bet. Y'all be   safe. Call

me when you get           back. I'm probably           gonna get       off in a minute though." TOWLES replied,

"A'ight matter of fact, shit,          nah, she gone be       tired. I'll just see you tomorrow."     Based on your

affrant's training and experience, your affiant understands that during this portion of the

conversation, TOWLES advised BOYD that TOWLES had heard from TOWLES's source                                          of

supply that he had narcotics ("some shit") to distribute. The source of supply                      fu(her indicated

that the narcotics could be           'cut' three additional times for resale ("threw three on it"),       because the


product was still high in quality. TOWLES indicated that the weight of the narcotics would be

75 grams       ("it's   7-5).       TOWLES further indicated that the amount initially would have been 65

grams ("a 6-5") for the narcotics but that the source of supply was adding I 0 grams of a cutting

agent ("adding his         little   10 on   it").

          18.           On March      ll,   2018, at approximately 6:28 p.m., (TT-4, Activation #867), BOYD

received a call from TOWLES on the Target Telephone. TOWLES and BOYD were located in

different places at the time of this                call.   During the course of the call, TOWLES told BOYD,

"knma about to shoot in the house cause they cooking." BOYD later told TOWLES, "tmma



                                                                  li
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about to go in the house my motherfucking self.      I might come back out, it's slow   as shit around


here." Your affiant      understands from training and experience that TOWLES was informing

BOYD he was retuming to a house where people working for him were turning powder cocaine

into crack cocaine ("cause they cooking"). BOYD told TOWLES he was also probably going in

to a different house because there were not a lot ofpeople purchasing drugs from him at this time

("it's slow as shit around here").

        19.     During the course of the investigation, law enforcement determined that TOWLES

utilized a Chevrolet lmpala with Maryland license plate number 5DF8904 in connection with his

narcotics trafficking   activities. On April 20, 2018, the Honorable Gina L. Simms, United          States


Magistrate Judge for the District of Maryland signed a Tracking Warrant for the Chevrolet Impala

with Maryland license plate number 5DF8904 under case number GLS-18-939. OnJune5,20l8,

the Honorable Charles B. Day, United States Magistrate Judge for the District of Maryland signed

an extension of the Tracking Warrant for the Chevrolet Impala for an additional 45 days under

case number   CBD-18-1545. On June 28, 2018, the Honorable Charles B. Day, United States

Magistrate Judge for the District of Maryland signed a second extension of the Tracking Warrant

for the Chevrolet Impala for an additional 45 days under case number CBD-18-1545.

       20.      On April 24,2018, your affiant conducted electronic surveillance ofthe vicinity         of

the 300 block   of   1Sfr Place   Northeast. At approximately 2:55 p.m., a black Chevrolet lmpala

operated by TOWLES arrived at the 300 block          of   18fr Place Northeast. TOWLES exited the

vehicle while speaking on a cellular telephone, and walked towards 316 I 8s Place   Northeast. At

2:58 p.m., TOWLES and an unidentified black male retumed from the vicinity of           3   l6   l8th Place

Northeast and walked to the rear of TOWLES's          Impala. TOWLES       opened the trunk         of the

Impala and removed a white bucket with a covered top from it. TOWLES and the unidentified
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black male then entered the lmpala, with TOWLES sitting in the driver's seat. At approximately

2:59 p.m., TOWLES and the unidentified black male exited TOWLES's vehicle and TOWLES

retumed the white bucket to the trunk of his          lmpala.       The unidentified black male walked back

across the street to the   vicinity of3l6 l8th Place Northeast. At 4:00 p.m.,            a second unidentified


black male arrived at the block of 300     I 8th   Place Northeast in a black Nissan with Virginia license

plate number UYM-7269. The second unidentified black male walked to the driver's side window

of BOYD's known GMC Yukon bearing )Vashington, D.C. license plate number FH9597,                           and

engaged a person sitting       in the driver's seat in conversation. At approximately 4:02               p.m.,

DERRICK BOYD walked over to the second unidentified black male and engaged him in

conversation. At approximately 4:03 p.m., DERRICK BOYD and the second unidentified black

male walked across the street and in to     3   l6   I 8th Place   Northeast. At approximately 4: I 5 p.m., the

second unidentified black male retumed from the vicinity of 316 l8th Place Northeast with awhite

bucket similar      in   appearance    to the bucket TOWLES arrived with earlier. The                  second

unidentified black male walked to the black Nissan, put the bucket in the vehicle and departed the

area. A review of the GPS data from the Impala               showed that the Impala traveled from the area

near 1953 l9s Place, Southeast, Washingon, D.C. to the 300 block                     of l8'h Place, Northeast,

Washinglon, D.C.

            21.   On April 29,2018, at approximately 12:20 p.m., (Activation #1737), BOYD

received a call from TOWLES using the target telephone. During the conversation, TOWLES

stated, "What's up,      Cuz? You still want them two?" BOYD replied, "I'mma call the dude now

. . . see   if he still want them." TOWLES then said, "Alright" let me know. I'm in the house and

I,ll put it together   before I come   out." BOYD        replied,   'Alright."   Your affiant understands that

here, BOYD and TOWLES discussed a narcotics transaction involving a                   "two" quantity of drugs
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to be provided to a customer. In this instance, TOWLES advised BOYD that he was at the stash

location ("the house") and that he would put the drugs together before he came out once BOYD

told him the customer still wanted the drugs.i Thereafter. at 12:21 p.m., (Activation #1738),

BOYD called an UNKNOWN MALE at (202\                       207   -5504. During their conversation, BOYD

asked, "You still need that?", and UM 5504 replied,              "Yeah." BOYD then responded, "Alright,

let me call him back      "   and   UM 5504 replied, "Ok." Subsequently, at 12:21 p.m., (Activation

#1739), BOYD called TOWLES on the target telephone. BOYD then stated, "He need it," and

TOWLES asked, "You said what, Cuz?" BOYD then restated, "He need it                            "   and TOWLES

responded,   "Alright, I'm about to do it;        I'll   put it together now." BOYD replied, "Alright."

Here, during the follow-up activations #1738 and #1739, your affiant understands that BOYD

confirmed with the customer (UM 5504) that he still wanted to purchase drugs, then BOYD called

TOWLES and informed TOWLES of the customer's ongoing intentions to get drugs at that time.

TOWLES then said that he would package the requested drugs for redistribution.

        22.      On June      l,   2018, investigators witnessed TOWLES in the Impala parked on Good

Hope Road Southeast, Washington, D.C., adjacent to 1953 l gth Place Southeast, Washington, D.C.

TOWLES was later observed nearby the Impala with an unknown black male wearing a black t-



r        A review ofthe GPS data from the Impala showed that the Impala remained parked in the vicinity of 140
Moore Drive, Rockville, MD throughout the day on April 29.2018. However, your affiaot is aware that thrcughout
this investigation, TOWLES has also utilized a second vehicle: a Mercedes-Benz C300 sedan, bearing license plate
number 6CP7869, which is also registered to STEPHANIE PAULINO at 140 Moore Drive, Rockville, MD. while
law enforcement obtained authorization to install a GPS tracker on the Mercedes-Benz on June 20, 2018, law
enforcement does not have any location data for the Mercedes as ofApril 29,2018. In fact, at approximately 9:46
p.m., law enforcement agents conducting electronic surveillance observed the Mercedes-Benz sedan driving onto the
300 block of l8d Place Northeast, Washington, D.C. TOWLES was then observed exiting the passenger side of the
                                                                                                             s
Mercedes-Benz sedan, opening and closing the trunk of said vehicle, and walking towards the area of 3 I 6 18 Place
Northeast, Washington, D.C. with a backpack in hand. TOWLES was later observed retuming to the Mercedes-Benz
sedan with a backpack on his shoulder, opening and closing the trunk ofsaid vehicle, and then entering the passenger
side without the backpack. The Mercedes-Benz sedan then left the area a shon time laler.
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shirt, green shorts and a black hat and carrying a backpack. TOWLES entered the driver seat of

the Impala and the unknown black male entered the front passenger seat. A short time later, a

black female wearing a black tank top, black pants and black shower cap approached the passenger

side of the   lmpala. Law enforcement   agents observed the second unknown female holding what

appeared to be U.S. Currency in her left hand and reach into the vehicle with the same hand. Law

enforcement agents then saw her withdraw her hand from the vehicle and appear to place an object

into the waistband of her pants. Investigators believed this to be a hand+o-hand purchase of

narcotics by the female from   TOWLES. Additionally, investigators observed TOWLES exit the

Impala with a backpack in   hand. TOWLES placed the backpack in the trunk then re-entered the

driver seat ofthe vehicle. Investigators then surveilled the lmpala to 140 Moore Drive, Rockville,

MD.

        23.      On June 2,2018, Edward TOWLES, utilizing the target telephone, contacted

Denick BOYD. At approximately 9:27 p.m., (TT-7, Activation #l9l), TOWLES and BOYD

began to discuss an unidentified male who is able to sell them assault rifles he is acquiring from

an unidentified female. BOYD asked TOWLES,            "Did   she ever take care of that other situation

with him?" TOWLES replied, "Yeah,        she   took care of him and all   that. You know he went over

there." TOWLES also said, "She sent him a card and all that " and "She sent some picturcs of the

toys." BOYD asked, "she ain't have none of that shit we be looking         for?"   TOWLES responded,

,.Shi! hell yeah,,' and subsequently told BoYD, "Yeah, I'll send them. I still got them on the screen.


Imma send them to you. You want me to send them to this number?" BOYD responded

affirmatively. BOYD     asked, "She had some of that big boy     shit.    That, you know what I mean?"

                       .,Man, cuz, Imma send them to     you. I'm talking about Kriss Vector. Yeah,
TOWLES responded,

Kriss Vectors and all of them." Your affrant understands a Kriss Vector is a model of assault
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rifle. Your alTiant understands through training and experience TOWLES is telling BOYD                  an


unknown female is able to acquire guns ('toys") and has sent TOWLES pictures ofthe guns she

is able to acquire ("she sent some pictures of the       toys"). Following the conversation, TOWLES

sent BOYD a series         of l4 MMS text messages from      the target telephone to   TT-7. The content

details of the MMS activations indicated each MMS had two parts (each was labeled part               I of   2

and part 2     of2). (T't-7. Activations #336.338.340.342.344.346.348.350. 352. 354.356.358.

360 and 362). As a result, through your affiant's       taining and experience, your affiant understands

there were only seven images of firearms sent in total. The final MMS, (TT-7, Activation #362)

occurred at approximately 2:23         p.m. The text messages     appeared    to be representations of the

firearms the seller was able to procure, as well as a description and price, with the majority ofthe

images appearing to come from web pages, to include GunBroker.com

         24.         On June 3, 2018, at approximately 4:42 p.m., (TT-7, Activation #402), BOYD

contacted TOWLES on the target telephone. BOYD asked, "Yeah man, why the fuck didn't you

get that mini man?" BOYD then clarified, "That Drake." TOWLES replied,                       "l   got one."

TOWLES continued, 'Not a mini though. I got the, oh yeah, the               mini. I don't got the micro, I

got the mini." BOYD asked, "Why didn't you get the micro           joint?" BOYD        then told TOWLES,

"l'm trying to get this for the same number that's        on the scrcen,   right?" TOWLES told BOYD,

"I'm   sure,   I'm   sure they gonna put their tax   on." BOYD asked,   "See how much they want for the

uh... for the joint next to the mini and the joint and the       mini." TOWLES asked, "You talking

about the black       one?" BOYD answered, "Yeah, both of them joints."          Based upon training and

experience, your afliant understands that TOWLES and BOYD were discussing Draco assault

weapons ('That Drake'), and TOWLES informed BOYD he already has purchased a mini Draco

for himself ("I got one;" 'Not a mini though"). Your affiant further understands when BOYD
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discusses      'that's   on the screen," BOYD is referring to the pictures sent to him by TOWLES over

TT-8, which included picture of a Draco micro assault                  rifle.   In that picture, the Draco micro

assault   rifle was positioned next to a black Draco mini assault rifle (which your afTiant believes

TOWLES referred to as "the black one"). Your affiant also understands TOWLES tells BOYD

the guns are going to be more expensive than the prices listed on the pictures              ("I'm   sure they gonna


put their tax on it").

          25.         As the conversation continued, BOYD stated, "Alright, so everything setup. So I

just need to link up with him, man, so he can bust it up and really get in depth with what's going

on for    real." TOWLES replied, "That's what's up. I told y'all. I been told y'all to exchange

numbers. Keep having me in the            middle."         Shortly thereafter, TOWLES stated,          "I'd like for

boy y'all to talk because both of      y'all   buys,   y'all got y'all own binkes. .. you know what I'm        say?

Y'all ain't        some regular person out     there. I'm gone hit him and see when y'all can link up."

Lastly, your affiant understands that TOWLES was trying to get the seller and BOYD to exchange

phone numbers and coordinate for the sale              directly.   However, TOWLES informs BOYD that he

would contact the seller ("1'm gone hit him") in order to see when BOYD and the seller could

meet.

          26.         At approximately 4:48 p.m., (TT-7, Activation #403), TOWLES called BOYD on

TT-7 using the target telephone. BOYD asked, "What's up, slim?" TOWLES                                  responded,


"Yeah, he said tomorrow." Based on raining and experience, your affiant understands that

TOWLES informed BOYD that TOWLES arranged for BOYD to purchase the guns the following

day on June 4, 2018.

          27   .      On June 4, 201 8, at approximately      I :06   p.m., (Activation #620), BOYD contacted

TOWLES on TT-8 using TT-7. TOWLES informed BOYD,                                "l   got a Drake for you for 12."
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BOYD asked, "You got the short joint? The micro?" TOWLES replied, 'Nah, it's the other joint.

It's cool though." BOYD indicated to TOWLES that he did not want the other one. TOWLES

replied, "He got some, said he wanted to get rid of that short one. Hold on a sec." Shortly

thereafter, TOWLES asked BOYD, "Oh, ok,                ok.   Shoot, you want me to ask him about that micro

joint."    BOYD replied,        "Shit." TOWLES asked again, "You don't             want the other one, right?"

BOYD replied,      'Nah."        TOWLES responded,        "Alright." Your affiant       understands TOWLES

informed BOYD that the seller had a Draco macro assault rifle for sale, but BOYD instead wanted

a   micro ("You got the short joint? The micro?"). Your affiant further understands that TOWLES

agreed to follow up with the seller as to the seller's ability to provide BOYD with a Draco micro

assault rifle ("you want me to ask him about that micro           joint").

          28.    At approximately I :09 p.m., (Activation          #621 ), TOWLES called      BOYD on TT-7

using   TT-8. TOWLES told BOYD, "He said 13." Your affiant                      understands that TOWLES told

BOYD that the seller indicated that he had a Draco micro assault rifle and that the seller's price

for that firearm was $1,300       C'l3).    BOYD subsequently responded, "Alright" you huh, ifyou got

iton youjust grab it. I give itto you." TOWLES replied, "I ain't got it onme. I don't               be coming

out the house with      shit." BOYD       responded,   "Alright, I'm at work and shit. He ain't gone let it

go no time soon, right? Tell him I v/ant thejoint. I just gotta, you          know." Your affrant understands

BOYD agreed to the price and asked TOWLES to pay for the firearm for him ("if you got it on

you just grab   it").   TOWLES informed BOYD that he did not have the money on him ("1 ain't got

it on   me"). Your alfiant further understands         that BOYD asked the seller to keep the micro Draco

for him and to not sell it to someone else ("1 want the joint" and "He ain't gonna let it go no time

soon,    right?"). At this point in the     conversation, TOWLES is then recorded stating, "Bruh, he

said he want it for     sure.   He at   work.   He said don't let it   go."   Based on your affiant's review   of
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the call, your affiant believes that TOWLES was speaking to the seller, who was present with

TOWLES, in the background. Your affiant further understands that TOWLES informed the seller

not to sell the firearm to someone else, because BOYD wanted to purchase the weapon.

        29.     On June 15,2018, at approxim ately l:42 p.m., (AgliJs!i.9r_#la, TOWLES placed

an outgoing call on the target telephone to an unknown male (hereafter UM 3482) at telephone

number (240) 370-3482. TOWLES asked, "What, you got right         now?"      LJM 3482 replied,   "I'll
give you a deal on the (unintelligible), that gelato." TOWLES asked, "What you talking about?"

UM 3482 replied, "Give me five for   it."   TOWLES asked, "Alright, that's a bet. How many you

got?" UM 3482 replied,    "l just got a half of a key, the other joint."     Based on training and

experience, your affiant understands that TOWLES asked UM 3482 was narcotics UM 3482 was

able to sell ("What you got right    now"). UM 3482 informed TOWLES he had a stain of

marijuana ("gelato") available at a price of $500 ("give me five for   it").   TOWLES asked UM

3482 how much marijuana UM 3482 had available, and UM 3482 responded that he had 500 grams

of another type of narcotic available ("ljust got a halfofa key, the otherjoint"). The phone call

was   dropped. At approximately l:44 p.m., (Activation #13), TOWLES      used the target telephone


to call UM 3482 back on (240) 370-3482. TOWLES asked, "What the last thing you heard me

say?" UM 3482 responded, "Yeah, you got to text me,    I'm in a bad area."

        30.     On June 19,2018, approximately 4:45 p.m., (TT-8, Activation #459), TOWLES,

received an incoming call on the target telephone from an unknown male (hereafter, UM 3893).

During the course of the call, TOWLES asked UM 3893, "Yeah you straight? Buck just called

me."    UM 3893 responded, "Yeah I'm straight. I wanna smoke. On my mother, I'm trying to

see   him."   TOWLES asked,   "Who?" UM 3893 responded,      "Man, that jointjust sneezed on me."

TOWLES's replied was unintelligible. UM 3893 repeated, "Man, that joint just real sneezed on
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me,   bruh."   TOWLES asked, "Who the fuck was it though?" UM 3893, "That's the little nigga,

he be up, I know exactly where he at,       bruh.   I want to smoke,   bruh.   I swear to god, bruh, on my

mother." TOWLES replied, "Alright" bruh. Ijust                  came in the fucking    house. Who    around

there with you?" UM 3893 replied, "Just me and Dave                    Martin."      Based on training and

experience, your affiant believes that       UM 3893 informed TOWLES that he wanted to kill                an


individual ("I wanna smoke. On my mother, I'm trying to see him.") TOWLES then asked UM

3893 who it was that UM 3893 wished to           kill, and UM 3893 indicated that the      he wanted to   kill

the person who had shot at him ("that joint just sneezed on         me.")   TOWLES then asked for more

information about who this person was, and UM 3893 indicated that he knew where the person

was and he wanted to      kill him ("That's the little nigga,   he be up, I know exactly where he   a! bruh.

I want to smoke, bruh.").

        31.     On June 19, 2018, approximately l0:34 p.m., (TT-8, Activation #499), TOWLES

placed an outgoing call on the target telephone          to UM 3893. During the course of the call,

TOWLES informed LIM 3893, "Hey you know my people just sent me a picture of slim, right."

UM 3893 replied, "Yeah." TOWLES continued, "You know that nigga was like, I could call that

nigga my little brother while we was locked            up."      UM 3893 replied, "Who?" TOWLES

explained,   "Chino. His      name is   Chino. They called him Chino.          We was locked up together.

That was like my little   brother." UM      3893 responded, "Oh      yeah?" TOWLES         continued, "Yeah

I'ma cancel, I'ma call that off for     real.   Because slim     ain't on nothing. He was chilling while

we was locked up. He wasn't on no bull          shit."   Based on training and experience, your alfiant

believes that TOWLES informed UM 3893 that someone had sent him a picture of individual that

uM    3893 sought to   kill ("my   people   just sent me a picture of   slim").     TOWLES then informed

UM 3893 that TOWLES recognized the individual in the picture                as an   individual with whom he
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                                                                  name "Chino"                  ("I could call
was close and with whom he had been incarcerated, who goes by the

that nigga my little brother while we was locked          up").   TOWLES then informed uM 3893 that

                                                               kill the individual who      shot him (chino)
he was withdrawing his authorization for UM 3893 to

due to TOWLES's relationship with chino ("I'ma cancel, I'ma call
                                                                 that off for                 real.    Because


slim ain,t on nothing. He was chilling while we was locked up. He wasn't on no
                                                                               bull             shit."). uM

3gg3 replied,
                ,,Yeah. Nah, he a cool little   dude." TowLES          stated,   "I'm telling you I know him.

                                                                                       that' He
I saw his picture. I know him personally. He used to come to the dorms with me and all

used to give me food and all that     shit." UM        3893 replied,   "Yeah." TOWLES          stated,   "I ain't

know.    That shit   crazy. But, shit, I'ma call it off. I already jive like called it off. But, I'ma

definitely call it offnow that I see who it     is."   lJM 3893 replied, "Yeah." TowLES, "I'ma just

tell them it,s family on the other side or some shit tike             that." uM 3893       replied, "Alright."


Based on training and experience, your affiant believes that, when          uM     3893 expressed displeasure

                                                                                     he knew
with TOWLES's decision ("Yeah. Nah, he a cool little dude."), TOWLES reiterated that

 chino and that chino was good to TowLES ("I saw his picture. I know him personally.
                                                                                     He used


 to come to the dorms with me and all that. He used to give me food and all that
                                                                                           shit"). TowLEs

 then confirmed to UM 3893 that he was calling offthe hit on chino, now that
                                                                             TowLES knew

 Chino was the intended target ("But, shit, I'ma call it       off.    I already jive like called it   off'   But'

 I'ma definitely call it offnow that I   see    who it   is."). TowLES further indicated        that   TowLES

 would tell others involved in the dispute that Chino was related to him. Your Afliant
                                                                                       further


 understands through his training and experience that in order for TOWLES
                                                                          to have the authority

 to stop an attempted murder, he would have to be in a position ofauthority over UM
                                                                                    3893.


         32.OnJunel9,20l8,approximatelyl0:50p'm',(TT-8,Activation#500)'TOWLES'

 placed an outgoing call to an unknown male (hereafter,           uM    795 I ) al202-809-7951    .    During the
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course of the call, TOWLES told       UM 7951, 'Not saying you was,      but   just in case you was, don't

get involved with that Paco        shit." UM 7951 responded,          "Oh, nah, fuck     no."    TOWLES

explained,   "Ijust found out that nigga that, uh, I called   that nigga my little brother when we was

locked up together." UM 7951 replied,           "Mhmm." TOWLES           replied,   "It ain't Riff It's a

whole another nigga. But the nigga cool as shit. You know what I'm         saying?" UM        7951 replied,

"Yeah." Based on taining and experience, your affiant believes that TOWLES told UM 7951 not

to become involved in the dispute between UM 3893 and           Chino. ('Not saying you was, but just

in case you was, don't get involved with that Paco        shit.") UM    7951 indicated that he was not

going to get    involved. TOWLES        then informed UM 7951 that the target of the planned hit was

not RifI, but rather was another individual with whom TOWLES is close ("It ain't              Riff.    It's   a


whole another nigga. But the nigga cool as shit. You know what I'm saying?"). Your Affiant

understands through his training and experience TOWLES is telling UM 795             I to sray out of a fight

between UM 3893 and         Chino. Your Affiant        further understands that once again, this call

indicates TOWLES is in a position of authority where he is able to direct other individuals and

exercise a measure ofcontrol over their actions.

          33.    On June 22, 2018, at approximately 8:40 p.m.,        6s!iydig4-#E4$, TOWLES           made


a   call using the target telephone to UM 3482 on (240) 370'3482. UM 3482 asked, "You sleeping

or   what? I sent you a text   message of a picture, but I figured out what it   was." TOWLES       replied,

"Oh yeah?" UM 3482 said, "But I see it        now.    Imma get that   join! too." TOWLES        asked, "For


what?" UM 3482 responded, "Just to, it ain't.. ." and TOWLES interjected, "I'{ah man, for what

you get two of them? Those are the best ones." UM 3482 replied, "Yeah, I'm getting that joint

because they giving me uh,         a Glock   20."   Based on Eaining and experience, your Affiant

understands UM 3482 sent a picture of a handgun to TOWLES that UM 3482 hoped TOWLES
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would identift, but UM 3482 figured out the type offirearm on his own ("I sent you       a   text message

of a picture, but I figured out what it was"). UM 3482 indicated that he was going to purchase

two handguns, to include a Glock 20 ("Imma get thatjoint, too," and "I'm getting thatjoint because

they giving me uh, a Glock 20").

         34.      On June 25, 2018, at approximately 2:l       I   p.m., (Activation #l142), TOWLES

received a call on the target telephone from UM 3482 on (240) 370-3482. UM 3482 said, "Yeah,

I saw somebody my little cousin      know.   He supposed to be calling me back to let me know where

the big man mind       at.    Find some glick." Based on training and experience, your afftant

understands that    "glick" is a sEeet term for a gun. TOWLES asked, "What number he say for

that   glick?" IJM 3482     asked, "The first one I sent   you?" TOWLES clarified,'Nah,        the second

one."    Based on training and experience, your affiant understands that      UM 3482 sent pictures of

two guns to TOWLES, and that TOWLES asked UM 3482 for the price of the gun in the second

picture UM 3482 sent to him ('\rhat number he say," and'Nah, the second one"). UM 3482

replied, "My little cousin said 550, but      I don't know, I      have to see." Based on training and

experience, your affiant understands that UM 3482 told TOWLES his cousin quoted him a price

of $550 for the   firearm. TOWLES       stated, "Let me get that   glick." UM 3482   replied, "You know

I get first pick, right?" TOWLES replied, "The XD better." UM 3482 said, "He                 supposed to

have a rack   ofjoints."   Based on training and experience, your affiant understands that TOWLES

told UM 3482 he wanted one of the guns ("let me get that glick"), and LJM 3482 reminded

TOWLES that UM 3482 got first pick of the guns. UM 3482 further told ToWLES that the seller

was in possession of a large number of guns ("he supposed to have a rack of                  joints"). At

approximately 8:20 p.m., (4e!iJa!ie!-t-L-19a, TOWLES placed an outgoing call on the target

telephone to UM 3482 on (240) 370-3482. TOWLES asked, "You ain't get a number for it yet?"
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UM 3482      asked, "For   what?" TOWLES clarified, "The pictures you sent me." UM                           3482

responded, "Oh nah dude, man, he trying to sell me some other          shit.    He got rid of them two joints

two hours before man man got over there." Based on training and experience, your amant

understands that TOWLES asked UM 3482 whether UM 3482 had confirmed the price of the

firearms. IIM 3482 informed TOWLES that the firearms had already been sold ("He got rid of

them two joints two hours before man man got over         there"). TOWLES replied, "Oh alright." UM

3482 continued, "Yeah, he some out of town nigga. He supposed to be coming offthe studio.

I'm Eying to move this Perc." Based on training and experience, your afliant understands that UM

3482 informed TOWLES that UM 3482 was also trying to illegally sell Percocet                     ("I'm trying to

move this Perc.").

        35.        On July 5, 2018, at approximately 2: l0 p.m. (4eliyaIie!_#2_123.), TOWLES placed

an outgoing call on the target telephone to an unknown male (hereafter UM 6935) on telephone

number (202) 903-6935. During the course of the conversation, TOWLES told UM 6935, "Shit,

I got your text, there's a joint around for 21, but thatjoint at my house."           Based on training and

experience and knowledge of the investigation into TOWLES and others known and unknown,

your affiant believes that TOWLES informed UM 6935 that he had a firearm ("joint") available

for sale for a price of $2,100 ("for 21"), but that the firearm was located at his residence. UM

6935 replied, "Man, you late as shit, man." TOWLES replied, "Why you saying that?" UM

6935's response was unintelligible; TOWLES replied, "Huh?"             tIM     6935 clarified,   "l   said, I got a

joint for   9."   TOWLES asked, "For 900?" UM 6935 replied, "For 9, yeah. And it actually good."

Based on training and experience, your affiant believes that UM 6935 told TOWLES that

TOWLES was too late in responding ("you late as shit") because UM 6935 had already been able

to acquire a firearm for $900 ("I got    a   joint for   9").   As the conversation continued, LIM 6935
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informed TOWLES,       "l   was trying to get that   Dizy   from you too, but you ain't hit me back."

TOWLES responded, 'Nah, nigga,           it wasn't what you wanted. He bullshitted." UM                     6935

replied "Oh, he bullshitted. I had a feeling, cause you ain't call me back." TOWLES responded,

"Yeah, he bullshit. It wasn't what he said it   was."    Based on training and experience, your affiant

believes that UM 6935 informed TOWLES that UM 6935 had been trying to obtain a Draco assault

rifTe (a   "Druzy") but that TOWLES     had not contacted him    back. TOWLES informed UM 6935

that the firearm wasn't what the person selling TOWLES the firearm had led him to believe ("he

bullshitted"), and that it was not what UM 6935 had wanted ("it wasn't what you wanted").

                       TraIIic Stoo and Search Warrant on Julv                10. 2018


           36.   On July | 0, 201 8, members of Montgomery County Department of Police, Special

Investigations Division, Drug Enforcement Section were conducting covert surveillance at 140

Moore Drive, Rockville, Montgomery County, Maryland. At approximately 2:00 p.m., Detective

Chad Bleggi observed Edward TOWLES, who was previously identified by his Maryland Driver's

License photograph, exit the main entry door         ofthe residence. TOWLES             opened the trunk   ofa

black Chewolet Impala with Maryland registration 5DF89M, hereinafter referred to as "the

vehicle," which was parked in the driveway of the residence. TOWLES approached the trunk of

the vehicle and removed a small black backpack from his shoulder a placed it into the trunk             ofthe

vehicle. TOWLES then entered the driver's        seat   of the vehicle   as   the sole occupant and left the

residence in the direction of Frederick Avenue.

           37.   Detective Bleggi conducted a pace ofthe Impala on North Stonestreet Avenue for

approximately .3 miles and determined that the Impala was traveling at a speed of 36 mph in a 25

mph   zone. ln addition, the vehicle    was then observed to have heavy tinting material on the rear

window, in violation of the Maryland Traffic Article. The material was dark enough that
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Detective Bleggi, when positioned directly behind the vehicle, was unable to observe any

silhouettes in the vehicle or any objects in broad daylight on a sunny   day. Detective Bleggi    has


specific training from the Maryland State Police in the identification of illegal tinting materials.

       38.       After following the vehicle for a short distance, a traffic stop was conducted by

Officer William Weill, Montgomery County Department of Police, 6n District Community Action

Team, at the request of Detective Bleggi on west bound Falls Road on top of the Interstate 270

over pass in the left tum lanes. Officer Weill approached the vehicle and made contact with the

operator, later identified through his Maryland Driver's License as Edward L. Towles having a

date of birth of May 23, 1989. Officer Weill immediately detected a powerful odor of fresh

marijuana emanating from the passenger compartment of the vehicle. Officer Weill knew the

odor to be marijuana based upon his training, knowledge, and experience as a proactive

enforcement officer and hundreds of contacts with marijuana. Officer Marshall Weider arrived

on the scene at the request of Officer Weill and requested TOWLES exit the       vehicle. TOWLES

exited the vehicle. TOWLES indicated that the vehicle belonged to his girlfriend, who he

identified as STEPHANIE PAULINO.

       39.       Out of an abundance of caution, Officer Weill requested a certified Controlled

Dangerous Substance K9 respond to the scene of the traffic      stop. Within    minutes of the initial

stop Detective Scott Carson, Montgomery County Department of Police, Special Investigations

Division, Drug Interdiction Team responded to the scene ofthe stop. Detective Carson deployed

his CDS K9 "Riggs" for a frce air sniff of the vehicle which resulted in a positive "hit" at the

driver's door.

       40.       Oflicer Weider utilized an issued tinting material reader which indicated that the

vehicle tint was approximately l67o light transmittal contrary to the allowed 35% light transmitted
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by Maryland law.

         41.    TOWLES spoke with Officer Weider and indicated that he had been traveling from

his girlfriend's residence at which time he provided the address    of   140 Moore Drive, Rockville,

Montgomery County, Maryland. TOWLES was asked by Officer Weider if he also lived at the

residence location, and TOWLES indicated that he did.

         42. A      probable cause search yielded     a   large fold     of US cunency in         various

denominations in the center console.area in excess of   $I   ,200. Officer Weill   and Officer Weider

opened the trunk   ofthe vehicle and observed the same black back pack that Detective Bleggi had

observed TOWLES placing in the vehicle a short time          earlier. Detective Carson conducted         a


search   ofthis bag which yielded three bags ofsuspected marijuana in various amounts with a total

weight of approximately I pound, a small ziplock bag with approximately 25 small bags of an off-

white powdery substance with an approximately weight of approximately l3 grams,          a   digital scale,

and an extended.45 caliber magazine with live ammunition. Officer Weill assisted with the

search and located a Glock handgun bearing serial number BEKM 136 behind the trunk wall carpet

lining near the vehicle battery. Officer Weill noted that the handgun was loaded with a live round

in the chamber and additional live rounds in the magazine of .45   caliber. Officer Weill conducted

a   field test of off-white powdery substance utilizing a NARK II test   kit.   The field test showed a

positive reaction for heroin.

         43.     At the time that that Officer Weill conducted the traffic stop, TOWLES received

an incoming call on the target telephone from PAULINO, on (301) 828-5867 (July 10,2018, at

approximately l:44 p.m., Activation #26,t4). During the course of the conversation, TOWLES

informed PAULINO that he had been pulled over due to the tint on his windshield. Moreover,

the call recorded the voice of a law enforcement officer informing TOWLES that he had detected
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the odor of marijuana and would, therefore, search the vehicle.

         44.     Later on July 10, 2018, your affiant obtained and executed a United States District

Court for the District of Maryland, Search and Seizure warrant for 140 Moore Drive, Rockville,

Maryland, signed by the Honorable Gina L. Simms, United States Magistrate Judge. During the

search   ofthis residence members of law enforcement found and seized several items of suspected

marijuana, several items of narcotics distribution paraphemalia (to include numerous items of

packaging ranging from bulk to small zip-top baggies, digital scales, razors, marijuana growing

equipment), firearms magazines, several rounds of ammunition, receipts from the purchase of

firearms parts, a suspected ledger of firearms orders, an unregistered silencers, and the TARGET

DEVICES6 listed below:



                                       Item   #                    Erief Description




5 This item was cxamined by an expert and was found to fit the definition of a'frearm" under l8 U.S.c. section
921(a)(3XC), a "firearm silencer" under l8 U.S.C. Section 921(aX24), a "silencer" under l8 U.S.C. Section 921(a\\24)
and a "firearm silencer" under 26 U.S.C. 5845(a)(7). Additionally, this silencer bears no NFA manufactuer's marks
ofidentification or a serial number as required by 26 U.S.C. Section 5842.
6 Your affiant notes lhat some ofthe devices were seized from the Mercedes-Benz C300 sedan, bearing license plate
number 6CP7869, which is registered to STEPHANIE PAULINO at 140 Moor€ Drive, Rockville, MD, which was
parked on the curtilage of 140 Moore Drive, Rockville, Maryland at the time ofthe execution ofthe search warrant.
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        The TARGET DEVICES seized were held as evidence on the premises of the ATF at 90

K Street N.E., Washington, D.C., where they remain.

        45.      At the time of the execution of this     search warrant Stephanie PAULINO was

present at 140 Moore Drive, Rockville,      MD.    PAULINO stated to law enforcement officers that

the residence belonged to her and that TOWLES also stayed at that residence with her.

        46.       While law enforcement was conducting a search ofthe residence, a notebook was

located on a chair in the living   room.   Based on your affiant's training and experience he believed

this item to be a narcotics ledger, containing a list of suspected narcotic weights. All of the

numbers were listed in a fashion that would indicate that they were being added together. At the

bottom of the list of numbers, a total was listed with the label "g", indicating a total weight in

grams. At the outset PAULINO was shown the document and asked if it was her handwriting,

she stated it   was.   When asked what the significance of the writing was PAULINO initially stated

that the numbers were vehicle miles documented for her employment. PAULINO further stated

that she needed to document the miles she drives for work so she could be financially reimbursed.

Upon further questioning PAULNO admitted that she was not telling the truth and further that the

numbers were weights of narcotics. PAULINO stated that TOWLES called her and gave her the

information written on the paper.

                                            CONCLUSION

        47.       Based upon the above-referenced facts, your affiant asserts that there is probable

cause to believe that the    TARGET DEVICES (as described in Attachment A and incorporated
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Atuchmcnt B snd ircorPonted hcnin by cfscncc).

        4t.     Brscd on thc forcgoing, I reqrrst rhat the Coun issuc thc proposcd search warant'


Frsu&t to Fcdcnl Rulc of Criminel Proccdurt       4I.


        49.     I furtlrer rcquest drat thc Coun permit thc scsrch warrant to bc cxecuted sl any time

givcn that thc Dcvicc src contrind on thc premiscs ofATF.




         I dcclerc undcr pcnalry of perjury that rhe foagoing is true and contct to thc bcsr of my

knowlcdgc rnd bclief.




                                               Stevcn Leineney, Special Agent
                                               Burcau ofAlcohol, Tobacco, Firearms. and
                                               Explosivcs




Attcstcd to by thc applicant in accordrncc witr thc rcquiremcnts of Fcd. R. Crim. P. 4.1 by
tclcphonc. Swom and subacribcd this         day of Dccrmbcr, 201t.

                                       -


                                               Thc Honorablc Robin M. Mcriwcather
                                               Unitcd Sutcs Magistrate Judge
                                               For thc District of Columbia
